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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                        Case No. 1:15-cr-00239-BLW

                      Plaintiff,
                                                  AMENDED ORDER
        v.                                        CONTINUING TRIAL AND
                                                  TRIAL READINESS
 ROGELIO AREVALO-VILLASENOR, et                   CONFERENCE
 al.,

                      Defendants.


       The Court has before it Defendant Rogelio Arevalo-Villasenor’s Motion to

Continue Trial (Dkt. 46). Defendant states that counsel needs additional time to do

investigation, review discovery, and prepare for trial. Defendant requests an additional

180 days.

       Under all these circumstances, the Court finds that a continuance is needed to give

defense counsel an opportunity to provide an effective defense. Thus, a continuance is

warranted under 18 U.S.C. § 3161(h)(7)(B)(iv), which authorizes a finding of excludable

time when the refusal to grant a continuance would “deny counsel for the defendant . . .

the reasonable time necessary for effective preparation . . . .” Under these circumstances,

the interests of justice in allowing the defense time for effective preparation outweighs

the defendant’s and the public’s interest in a speedy trial under 18 U.S.C. §



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3161(h)(7)(A). However, the Court finds that a 180-day continuance is too long. The

Court has only grants such lengthy continuances in the most complicated cases, or where

a number of defendants (typically 10 or more) are combined for trial. Here, there are four

defendants, and a somewhat large amount of discovery. Accordingly, the Court will give

approximately a 90-day continuance instead of the typical 60-day continuance. The Court

encourages the Government to expedite discovery so as to keep the new trial date. The

Court finds that the period of time between the present trial date and the new trial date is

excludable time under the Speedy Trial Act.

       The co-defendants have not moved for a continuance. However, they have not

opposed the motion. Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(6), excludable

time exists for “a reasonable period of delay when the defendant is joined for trial with a

co-defendant as to whom the time for trial has not run and no motion for severance has

been granted.” No motion for severance has been filed. Accordingly, pursuant to 18

U.S.C. § 3161(h)(6), the Court finds that the excludable time found for the defendant

moving for a continuance also applies to the co-defendants. Thus, the co-defendants will

have trial continued as well. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED that the Motion to Continue

Trial (Dkt. 46) shall be, and the same is hereby GRANTED, and that the present trial date

be VACATED, and that a new trial be set for February 22, 2016 at 1:30 p.m. in the U.S.

Courthouse in Boise, Idaho.

       IT IS FURTHER ORDERED that the period of time between the prior trial date

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and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6) and (7)(A) & (B).

      IT IS FURTHER ORDERED that the current trial readiness conference be

VACATED, and that a new trial readiness conference be conducted by telephone on

February 11, 2016 at 4:00 p.m. The Government shall place the call to (208) 334-9145

with opposing counsel on the line.

      IT IS FURTHER ORDERED that all pretrial motions shall be filed on or before

January 25, 2016.



                                        DATED: November 20, 2015



                                        B. LYNN WINMILL
                                        Chief U.S. District Court Judge




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